
IN the Superior Court for Loudon county, at the April term 1813, this case came on, upon a rule against the defendant to shew cause why an information should not be filed against him for an assault.—The offence was charged to have been committed by the defendant more than one year before the granting of this rule, and an indictment had been found by a grand jury in the said superior court against him for it. But when the case was called for trial, there appeared to be an important blank in that indictment, which in the opinion of the court rendered it quite insufficient to support the prosecution. It was therefore quashed, and the defendant laid under this rule.
At the term aforesaid of the superior court, the defendant appeared in obedience to the said rule and for *313cause why the said information should not be filed against him, shewed the second section of the act, intituled “ an “ act further to amend the penal laws of this common- “ wealth,” and insisted that by that section, he was protected from any further prosecution for the said supposed offence. The superior court being of opinion that the construction of that section ought to be established by the supreme tribunal of this commonwealth in criminal cases, adjourned, with the assent of the defendant, to the general court the following question, “ does the said section of the said act protect the defendant in this case from further prosecution?”
The general court, June 11th, 1812, consisting of judges Holmes, Brockenbrough, Semple, and Randolph, decided “ that the second section of the act entitled an act further “ to amend the penal laws of this commonwealth, passed “ the 29th January, 1805, does protect the defendant in “ this case from further prosecution.”
See the second volume, Revised Code, p. 80.
